B1 (Official
         CaseForm 15-11296
                  1) (04/13)               Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main DocumentBar No#:
                                                                                                           Page 33501
                                                                                                                   1 of 69
                                                 United States Bankruptcy Court
                                                EASTERN DISTRICT OF LOUISIANA                                                                                    Voluntary Petition
                                                    NEW ORLEANS DIVISION
 Name of Debtor (if individual, enter Last, First, Middle):                                          Name of Joint Debtor (Spouse) (Last, First, Middle):
 Dewitt, Walter L                                                                                    Dewitt, Julie A

 All Other Names used by the Debtor in the last 8 years                                              All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                         (include married, maiden, and trade names):




 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more              Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
 than one, state all):     xxx-xx-9605                                                               than one, state all):     xxx-xx-7432
 Street Address of Debtor (No. and Street, City, and State):                                         Street Address of Joint Debtor (No. and Street, City, and State):
 40337 C C Rd                                                                                        40337 C C Rd
 Ponchatoula, LA                                                                                     Ponchatoula, LA
                                                                          ZIP CODE                                                                                          ZIP CODE
                                                                            70454                                                                                            70454
 County of Residence or of the Principal Place of Business:                                          County of Residence or of the Principal Place of Business:
 Tangipahoa                                                                                          Tangipahoa
 Mailing Address of Debtor (if different from street address):                                       Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                          ZIP CODE


 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                            ZIP CODE


                         Type of Debtor                                         Nature of Business                                   Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                      the Petition is Filed (Check one box.)
                         (Check one box.)
                                                                              Health Care Business
                                                                                                                                Chapter 7
       Individual (includes Joint Debtors)                                   Single Asset Real Estate as defined
                                                                               in 11 U.S.C. § 101(51B)
                                                                                                                                Chapter 9                  Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                                                                                                of a Foreign Main Proceeding
                                                                              Railroad                                         Chapter 11
       Corporation (includes LLC and LLP)
                                                                                                                                Chapter 12                 Chapter 15 Petition for Recognition
       Partnership                                                           Stockbroker                                                                   of a Foreign Nonmain Proceeding
                                                                              Commodity Broker                                 Chapter 13
       Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                             Clearing Bank                                                        Nature of Debts
                                                                              Other                                                                (Check one box.)
                        Chapter 15 Debtors
Country of debtor's center of main interests:
                                                                                    Tax-Exempt Entity
                                                                                  (Check box, if applicable.)
                                                                                                                                Debts are primarily consumer
                                                                                                                                 debts, defined in 11 U.S.C.
                                                                                                                                                                           Debts are primarily
                                                                                                                                                                            business debts.
                                                                               Debtor is a tax-exempt organization               § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                  under title 26 of the United States               individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                 personal, family, or house-
                                                                                                                                 hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                    Chapter 11 Debtors
       Full Filing Fee attached.                                                                     Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Check if:
       Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                      Debtor's   aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
       attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Check all applicable boxes:
                                                                                                            A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                            of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
     Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
                                                                                                                                        
 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-             25,001-           50,001-         Over
                                                         5,000            10,000           25,000              50,000            100,000         100,000
 Estimated Assets
                                                                                                                                        
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001         $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million     to $500 million   to $1 billion $1 billion
 Estimated Liabilities
                                                                                                                                        
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001         $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million     to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 4009447150)
B1 (Official
         CaseForm 15-11296
                  1) (04/13)              Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 2 ofPage
                                                                                                                 69 2
 Voluntary Petition                                                                         Name of Debtor(s):    Walter L Dewitt
 (This page must be completed and filed in every case.)                                                           Julie A Dewitt

                            All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location Where Filed:                                                                      Case Number:                                  Date Filed:
 None
 Location Where Filed:                                                                      Case Number:                                  Date Filed:


         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                    (If more than one, attach additional sheet.)
 Name of Debtor:                                                                            Case Number:                                  Date Filed:
 None
 District:                                                                                  Relationship:                                 Judge:


                                          Exhibit A                                                                                Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
        Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Rachel Thyre Anderson                                          5/22/2015
                                                                                                 Rachel Thyre Anderson                                                 Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
              Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
         Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.
                                                                    Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
         preceding the date of this petition or for a longer part of such 180 days than in any other District.


        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
         principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
         or the interests of the parties will be served in regard to the relief sought in this District.

                                                Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                        (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
         monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
         petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 4009447150)
B1 (Official
         CaseForm 15-11296
                  1) (04/13)             Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 3 ofPage
                                                                                                                69 3
 Voluntary Petition                                                                          Name of Debtor(s):     Walter L Dewitt
 (This page must be completed and filed in every case)                                                              Julie A Dewitt

                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                         Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                              ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                  Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Walter L Dewitt
      Walter L Dewitt
                                                                                             X
       /s/ Julie A Dewitt                                                                        (Signature of Foreign Representative)
 X    Julie A Dewitt

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     5/22/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Rachel Thyre Anderson                                                             defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Rachel Thyre Anderson                            Bar No. 33501                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Office of Rachel Thyre Anderson, LLC
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 428 W. 21st Ave.                                                                            given the debtor notice of the maximum amount before preparing any document
 Covington, LA 70433                                                                         for filing for a debtor or accepting any fee from the debtor, as required in that
 rachel@rachelandersonlaw.com                                                                section. Official Form 19 is attached.


          (985) 377-9271
 Phone No.______________________        (866) 985-3020972
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     5/22/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 4009447150)
      Case Form
B 1D (Official 15-11296
                  1, ExhibitDoc   1 Filed
                            D) (12/09)    05/26/15
                                       UNITED      Entered
                                               STATES      05/26/15 14:40:21
                                                       BANKRUPTCY    COURT                        Main Document Page 4 of 69
                                             EASTERN DISTRICT OF LOUISIANA
                                                 NEW ORLEANS DIVISION
In re:   Walter L Dewitt                                                                 Case No.
         Julie A Dewitt                                                                                       (if known)

                    Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
      Case Form
B 1D (Official 15-11296
                  1, ExhibitDoc   1 Filed
                            D) (12/09)    05/26/15
                                       UNITED      Entered
                                               STATES      05/26/15 14:40:21
                                                       BANKRUPTCY    COURT                     Main Document Page 5 of 69
                                              EASTERN DISTRICT OF LOUISIANA
                                                  NEW ORLEANS DIVISION
In re:   Walter L Dewitt                                                              Case No.
         Julie A Dewitt                                                                                    (if known)

                    Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

             Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


             Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


             Active military duty in a military combat zone.

   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Walter L Dewitt
                       Walter L Dewitt

Date:        5/22/2015
      Case Form
B 1D (Official 15-11296
                  1, ExhibitDoc   1 Filed
                            D) (12/09)    05/26/15
                                       UNITED      Entered
                                               STATES      05/26/15 14:40:21
                                                       BANKRUPTCY    COURT                        Main Document Page 6 of 69
                                             EASTERN DISTRICT OF LOUISIANA
                                                 NEW ORLEANS DIVISION
In re:   Walter L Dewitt                                                                 Case No.
         Julie A Dewitt                                                                                       (if known)

                    Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
      Case Form
B 1D (Official 15-11296
                  1, ExhibitDoc   1 Filed
                            D) (12/09)    05/26/15
                                       UNITED      Entered
                                               STATES      05/26/15 14:40:21
                                                       BANKRUPTCY    COURT                     Main Document Page 7 of 69
                                             EASTERN DISTRICT OF LOUISIANA
                                                 NEW ORLEANS DIVISION
In re:   Walter L Dewitt                                                              Case No.
         Julie A Dewitt                                                                                    (if known)

                    Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

             Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


             Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


             Active military duty in a military combat zone.

   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Julie A Dewitt
                       Julie A Dewitt

Date:        5/22/2015
        Case
B6A (Official    15-11296
              Form 6A) (12/07) Doc   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 8 of 69


In re Walter L Dewitt                                                          Case No.
      Julie A Dewitt                                                                                                 (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                                  Current Value




                                                                                        Husband, Wife, Joint,
                                                                                                                   of Debtor's
                  Description and                             Nature of Debtor's




                                                                                          or Community
                                                                                                                    Interest in
                    Location of                              Interest in Property
                                                                                                                Property, Without    Amount Of
                     Property                                                                                                       Secured Claim
                                                                                                                 Deducting Any
                                                                                                                 Secured Claim
                                                                                                                  or Exemption


 40337 C C Rd, Ponchatoula, LA                         Fee simple                         -                         $225,000.00       $246,937.00
 Debtors' principal residence
 (Value based on mortgage broker's opinion
 November 2014)




                                                                                    Total:                          $225,000.00
                                                                                    (Report also on Summary of Schedules)
          Case
B6B (Official Form 15-11296
                   6B) (12/07)   Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 9 of 69


In re Walter L Dewitt                                                                      Case No.
      Julie A Dewitt                                                                                            (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,
                                          None
                                                                                                                                              Without Deducting
            Type of Property                                   Description and Location of Property                                             any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption

1. Cash on hand.                                 Cash                                                                      -                           $50.00
                                                 In debtors' possession


2. Checking, savings or other finan-             Capital One Joint Checking xxxx6663                                       -                          $400.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Capital One Checking xxxx6701                                             -                          $800.00
thrift, building and loan, and home-             Husband's account used for business expenses
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household furniture, linens, appliances                                   -                        $2,000.00
including audio, video and computer              Location: 40337 CC Rd, Ponchatoula, LA
equipment.
                                                 Electronics:                                                              -                          $150.00
                                                 2 Televisions (approximately 2 years old), Nintendo console,
                                                 cell phone
                                                 Location: 40337 CC Rd, Ponchatoula, LA


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                                  -                          $500.00
                                                 Location: 40337 CC Rd, Ponchatoula, LA


7. Furs and jewelry.                             Wedding and engagement rings                                              -                        $1,500.00
                                                 In debtors' possession

                                                 Miscellaneous costume jewelry                                             -                           $50.00
                                                 Location: 40337 CC Rd, Ponchatoula, LA
        Case
B6B (Official Form15-11296
                   6B) (12/07) -- Doc
                                  Cont.   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 10 of 69


In re Walter L Dewitt                                                                        Case No.
      Julie A Dewitt                                                                                      (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 1




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,
                                              None
                                                                                                                                        Without Deducting
             Type of Property                                      Description and Location of Property                                   any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption


8. Firearms and sports, photo-                X
graphic, and other hobby equipment.

9. Interests in insurance policies.                  Employer-provided term life insurance (husband)                 -                         Unknown
Name insurance company of each                       100% exempt
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name               X
each issuer.

11. Interests in an education IRA as          X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,                  Husband's employer-provided 401(k)                              -                       $90,000.00
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-           X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint        X
ventures. Itemize.

15. Government and corporate bonds            X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                      X
        Case
B6B (Official Form15-11296
                   6B) (12/07) -- Doc
                                  Cont.   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 11 of 69


In re Walter L Dewitt                                                                Case No.
      Julie A Dewitt                                                                              (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                       Continuation Sheet No. 2




                                                                                                        Husband, Wife, Joint,
                                                                                                                                Current Value of
                                                                                                                                Debtor's Interest




                                                                                                          or Community
                                                                                                                                   in Property,
                                              None
                                                                                                                                Without Deducting
             Type of Property                              Description and Location of Property                                   any Secured
                                                                                                                                     Claim or
                                                                                                                                    Exemption


17. Alimony, maintenance, support,            X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to            X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life       X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent              X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-             X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other            X
intellectual property. Give
particulars.

23. Licenses, franchises, and other           X
general intangibles. Give particulars.
        Case
B6B (Official Form15-11296
                   6B) (12/07) -- Doc
                                  Cont.   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 12 of 69


In re Walter L Dewitt                                                                         Case No.
      Julie A Dewitt                                                                                      (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 3




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,
                                              None
                                                                                                                                        Without Deducting
             Type of Property                                      Description and Location of Property                                   any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption


24. Customer lists or other compilations      X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                   Harley Davidson 2010 (approximately 3,000 miles)                J                       $10,750.00
and other vehicles and accessories.
                                                     2014 Ford F150 (approximately 8,000 miles)                      -                       $30,425.00



26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                         2 dogs                                                          -                            $0.00
                                                     Location: 40337 CC Rd, Ponchatoula, LA


32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.
        Case
B6B (Official Form15-11296
                   6B) (12/07) -- Doc
                                  Cont.   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 13 of 69


In re Walter L Dewitt                                                                         Case No.
      Julie A Dewitt                                                                                                 (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                           Husband, Wife, Joint,
                                                                                                                                                   Current Value of
                                                                                                                                                   Debtor's Interest




                                                                                                                             or Community
                                                                                                                                                      in Property,
                                              None
                                                                                                                                                   Without Deducting
             Type of Property                                    Description and Location of Property                                                any Secured
                                                                                                                                                        Claim or
                                                                                                                                                       Exemption


34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $136,625.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
        Case
B6C (Official Form15-11296
                   6C) (4/13)   Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 14 of 69


In re Walter L Dewitt                                                                          Case No.
      Julie A Dewitt                                                                                                (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*

     11 U.S.C. § 522(b)(2)
     11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 Household furniture, linens, appliances                 La. R.S. § 13:3881(A)(4)                               $2,000.00               $2,000.00
 Location: 40337 CC Rd, Ponchatoula, LA

 Clothing                                                La. R.S. § 13:3881(A)(4)                                 $500.00                 $500.00
 Location: 40337 CC Rd, Ponchatoula, LA

 Wedding and engagement rings                            La. R.S. § 13:3881(A)(5)                               $1,500.00               $1,500.00
 In debtors' possession

 Employer-provided term life insurance                   La. R.S. § 22:912(A)                                    Unknown                 Unknown
 (husband)
 100% exempt

 Husband's employer-provided 401(k)                      La. R.S. § 13-3881(D)                                 $90,000.00              $90,000.00

 2014 Ford F150 (approximately 8,000 miles)              La. R.S. § 13:3881(A)(7)                                    $0.00             $30,425.00

 2 dogs                                                  La. R.S. § 13:3881(A)(4)                                    $0.00                      $0.00
 Location: 40337 CC Rd, Ponchatoula, LA




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.                                                                  $94,000.00             $124,425.00
       Case
B6D (Official   15-11296
              Form 6D) (12/07)Doc   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 15 of 69
          In re Walter L Dewitt                                                                                           Case No.
                 Julie A Dewitt                                                                                                                                   (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                             Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                  DATE CLAIM WAS                                               AMOUNT OF          UNSECURED




                                                                                                                                  UNLIQUIDATED
            MAILING ADDRESS                                                                  INCURRED, NATURE                                                 CLAIM            PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                                 DISPUTED
        INCLUDING ZIP CODE AND                                                                  OF LIEN, AND                                                 WITHOUT              ANY
          AN ACCOUNT NUMBER                                                                   DESCRIPTION AND                                               DEDUCTING
          (See Instructions Above.)                                                               VALUE OF                                                   VALUE OF
                                                                                             PROPERTY SUBJECT                                               COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    11/2014
ACCT #: 8017                                                                      NATURE OF LIEN:
                                                                                  Fee simple
Bank of America NA                                                                COLLATERAL:
                                                                                  40337 C C Rd, Ponchatoula, LA                                               $157,000.00
4161 Piedmont Pkwy                                           C                    REMARKS:
Greensboro, NC 27410



                                                                                  VALUE:                           $225,000.00
                                                                                  DATE INCURRED:    Various
ACCT #: 8017                                                                      NATURE OF LIEN:
                                                                                  Arrearage claim
Bank of America NA                                                                COLLATERAL:
                                                                                  40337 C C Rd, Ponchatoula, LA                                                 $4,500.00
4161 Piedmont Pkwy                                           C                    REMARKS:
Greensboro, NC 27410



                                                                                  VALUE:                              $4,500.00
                                                                                  DATE INCURRED:    10/2014
ACCT #: 6441                                                                      NATURE OF LIEN:


Ford Motor Credit                                                                 COLLATERAL:
                                                                                  2014 Ford F150 (approximately 8,000 miles)                                   $39,238.00           $9,238.00
PO Box 542000                                                C                    REMARKS:
Omaha, NE 68154-8000



                                                                                  VALUE:                             $30,000.00
                                                                                  DATE INCURRED:    2/2011
ACCT #: 7488                                                                      NATURE OF LIEN:


Harley Davidson Credit                                                            COLLATERAL:
                                                                                  Harley Davidson 2010                                                         $11,377.00           $1,377.00
3850 Arrowhead Dr                                            C                    REMARKS:
Carson City, NV 89706



                                                                                  VALUE:                            $10,000.00
                                                                                                         Subtotal (Total of this Page) >                       $212,115.00          $10,615.00
                                                                                                        Total (Use only on last page) >
________________continuation
       1                     sheets attached                                                                                                                (Report also on    (If applicable,
                                                                                                                                                            Summary of         report also on
                                                                                                                                                            Schedules.)        Statistical
                                                                                                                                                                               Summary of
                                                                                                                                                                               Certain Liabilities
                                                                                                                                                                               and Related
                                                                                                                                                                               Data.)
       Case
B6D (Official   15-11296
              Form 6D) (12/07)Doc  1 Filed
                               - Cont.            05/26/15 Entered 05/26/15 14:40:21 Main Document Page 16 of 69
          In re Walter L Dewitt                                                                                            Case No.
                 Julie A Dewitt                                                                                                                                    (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                               AMOUNT OF         UNSECURED




                                                                                                                                    UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                                 CLAIM           PORTION, IF




                                                                                                                                     CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                                   DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                                 WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                               DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                                   VALUE OF
                                                                                               PROPERTY SUBJECT                                               COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:    1/2011
ACCT #: 0060                                                                        NATURE OF LIEN:
                                                                                    Fee simple
Pelican State Credit                                                                COLLATERAL:
                                                                                    40337 C C Rd, Ponchatoula, LA                                                $89,937.00        $21,937.00
3232 S Sherwood Forest Blvd                                    C                    REMARKS:
Baton Rouge, LA 70816



                                                                                    VALUE:                           $225,000.00
                                                                                    DATE INCURRED:    Various
ACCT #: 0060                                                                        NATURE OF LIEN:


Pelican State Credit                                                                COLLATERAL:
                                                                                    40337 C C Rd, Ponchatoula, LA                                                 $1,500.00
3232 S Sherwood Forest Blvd                                    C                    REMARKS:
Baton Rouge, LA 70816



                                                                                    VALUE:                             $1,500.00




Sheet no. __________
               1       of __________
                                1     continuation sheets attached                                         Subtotal (Total of this Page) >                        $91,437.00         $21,937.00
to Schedule of Creditors Holding Secured Claims                                                           Total (Use only on last page) >                        $303,552.00          $32,552.00
                                                                                                                                                              (Report also on   (If applicable,
                                                                                                                                                              Summary of        report also on
                                                                                                                                                              Schedules.)       Statistical
                                                                                                                                                                                Summary of
                                                                                                                                                                                Certain Liabilities
                                                                                                                                                                                and Related
                                                                                                                                                                                Data.)
       Case
B6E (Official   15-11296
              Form 6E) (04/13)Doc      1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 17 of 69
In re Walter L Dewitt                                                                             Case No.
      Julie A Dewitt                                                                                                        (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

 Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


   Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc   1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 18 of 69
  In re Walter L Dewitt                                                                                              Case No.
           Julie A Dewitt                                                                                                       (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                       DATE CLAIM WAS                                              AMOUNT OF




                                                                                                                                                    UNLIQUIDATED
                                                                                                                                       CONTINGENT
                MAILING ADDRESS                                                                         INCURRED AND                                                 CLAIM




                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                              CLAIM.
             (See instructions above.)                                                             IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE.


ACCT #: 9853                                                                           DATE INCURRED:   8/2013-various
                                                                                       CONSIDERATION:
American Express                                                                       Credit Card                                                                    $2,304.00
PO Box 650448                                                                          REMARKS:
                                                                C
Dallas, TX 75265



ACCT #:                                                                                DATE INCURRED:   Unknown
                                                                                       CONSIDERATION:
AT&T                                                                                   Telephone                                                                      Unknown
PO Box 536216                                                                          REMARKS:
                                                                C
Atlanta, GA 30353



ACCT #: 0929                                                                           DATE INCURRED:   5/2014-various
                                                                                       CONSIDERATION:
Bank of America                                                                        Credit Card                                                                    $2,782.00
PO Box 650070                                                                          REMARKS:
                                                                C
Dallas, TX 75265



ACCT #: 3011                                                                           DATE INCURRED:   6/2010-various
                                                                                       CONSIDERATION:
Barclays Bank Delaware                                                                 Credit Card                                                                    $2,923.00
125 S West St                                                                          REMARKS:
                                                                C
Wilmington, DE 19801



ACCT #: 2699                                                                           DATE INCURRED:   1/2009-various
                                                                                       CONSIDERATION:
Barclays Bank Delaware                                                                 Credit Card                                                                    $1,823.00
125 S West St                                                                          REMARKS:
                                                                C
Wilmington, DE 19801



ACCT #: 0862                                                                           DATE INCURRED:   8/2008-various
                                                                                       CONSIDERATION:
Best Buy/CBNA                                                                          Credit Card                                                                    $1,164.00
PO Box 6497                                                                            REMARKS:
                                                                C
Sioux Falls, SD 57117



                                                                                                                                  Subtotal >                          $10,996.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       14                    sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 19 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 3536                                                                              DATE INCURRED:   8/2013-various
                                                                                          CONSIDERATION:
Best Buy/CBNA                                                                             Credit Card                                                                    $1,323.00
PO Box 6497                                                                               REMARKS:
                                                                   C
Sioux Falls, SD 57117



ACCT #: 3257                                                                              DATE INCURRED:   4/2011-various
                                                                                          CONSIDERATION:
Best Buy/CBNA                                                                             Credit Card                                                                      $938.00
PO Box 6497                                                                               REMARKS:
                                                                   C
Sioux Falls, SD 57117



ACCT #: 8170                                                                              DATE INCURRED:   11/2010-various
                                                                                          CONSIDERATION:
Capital One                                                                               Credit Card                                                                    $3,093.00
PO Box 30281                                                                              REMARKS:
                                                                   C
Salt Lake City, UT 84130



ACCT #: 2995                                                                              DATE INCURRED:   11/2008-various
                                                                                          CONSIDERATION:
Capital One                                                                               Credit Card                                                                    $6,522.00
PO Box 30281                                                                              REMARKS:
                                                                   C
Salt Lake City, UT 84130



ACCT #:                                                                                   DATE INCURRED:   Unknown
                                                                                          CONSIDERATION:
Castle Payday                                                                             Loan                                                                           Unknown
Attn: Customer Support                                                                    REMARKS:
                                                                   C
PO Box 704
Watersmeet, MI 49969

ACCT #: 3013                                                                              DATE INCURRED:   6/2011-various
                                                                                          CONSIDERATION:
Chase Bank USA                                                                            Credit Card                                                                    $3,785.00
PO Box 15298                                                                              REMARKS:
                                                                   C
Wilmington, DE 19850



Sheet no. __________
              1        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                          $15,661.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 20 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 3013                                                                              DATE INCURRED:   6/2011-various
                                                                                          CONSIDERATION:
Citicards CBNA                                                                            Credit Card                                                                    $3,785.00
PO Box 6241                                                                               REMARKS:
                                                                   C
Sioux Falls, SD 57117



ACCT #: 1190                                                                              DATE INCURRED:   12/2011-various
                                                                                          CONSIDERATION:
Comenity Bank                                                                             Credit Card                                                                      $676.00
PO Box 182789                                                                             REMARKS:
                                                                   C
Columbus, OH 43218



ACCT #: 7392                                                                              DATE INCURRED:   12/2011-various
                                                                                          CONSIDERATION:
Comenity Bank                                                                             Credit Card                                                                    $1,547.00
PO Box 182789                                                                             REMARKS:
                                                                   C
Columbus, OH 43218



ACCT #: 8811                                                                              DATE INCURRED:   11/2010-various
                                                                                          CONSIDERATION:
Comenity Bank                                                                             Credit Card                                                                    $1,599.00
PO Box 182789                                                                             REMARKS:
                                                                   C
Columbus, OH 43218



ACCT #: 2231                                                                              DATE INCURRED:   2/2014-various
                                                                                          CONSIDERATION:
Conns Credit Corp                                                                                                                                                        $2,077.00
3295 College St                                                                           REMARKS:
                                                                   C
Beaumont TX 77701



ACCT #: 2230                                                                              DATE INCURRED:   12/2013-various
                                                                                          CONSIDERATION:
Conns Credit Corp                                                                                                                                                        $1,239.00
3295 College St                                                                           REMARKS:
                                                                   C
Beaumont TX 77701



Sheet no. __________
              2        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                          $10,923.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 21 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 3633                                                                              DATE INCURRED:   9/2011-various
                                                                                          CONSIDERATION:
Credit One Bank                                                                           Credit Card                                                                    $1,682.00
PO Box 98873                                                                              REMARKS:
                                                                   C
Las Vegas, NV 89193



ACCT #: 1109                                                                              DATE INCURRED:   7/2014-various
                                                                                          CONSIDERATION:
Credit One Bank                                                                           Credit Card                                                                      $665.00
PO Box 98873                                                                              REMARKS:
                                                                   C
Las Vegas, NV 89193



ACCT #: 2856                                                                              DATE INCURRED:   10/2014-various
                                                                                          CONSIDERATION:
Credit One Bank                                                                           Credit Card                                                                      $505.00
PO Box 98873                                                                              REMARKS:
                                                                   C
Las Vegas, NV 89193



ACCT #: 1238                                                                              DATE INCURRED:   11/2010
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                             $140.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 5377                                                                              DATE INCURRED:   1/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                              $80.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 4920                                                                              DATE INCURRED:   3/2009
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                              $40.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



Sheet no. __________
              3        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                           $3,112.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 22 of 69
  In re Walter L Dewitt                                                                                              Case No.
           Julie A Dewitt                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                            AMOUNT OF




                                                                                                                                                    UNLIQUIDATED
                                                                                                                                       CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                               CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 3897                                                                              DATE INCURRED:   3/2009
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                           $76.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 9894                                                                              DATE INCURRED:   12/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                          $872.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 0463                                                                              DATE INCURRED:   4/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                        $2,244.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 3739                                                                              DATE INCURRED:   6/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                          $179.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 3846                                                                              DATE INCURRED:   9/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                           $58.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 3896                                                                              DATE INCURRED:   6/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                          $252.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



Sheet no. __________
              4        of __________
                              14     continuation sheets attached to                                                              Subtotal >                           $3,681.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 23 of 69
  In re Walter L Dewitt                                                                                             Case No.
           Julie A Dewitt                                                                                                      (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                           AMOUNT OF




                                                                                                                                                   UNLIQUIDATED
                                                                                                                                      CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                              CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                     DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 3751                                                                              DATE INCURRED:   6/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                          $80.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 0440                                                                              DATE INCURRED:   4/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                         $180.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 7386                                                                              DATE INCURRED:   7/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                          $76.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 0879                                                                              DATE INCURRED:   8/2011
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                         $162.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 2895                                                                              DATE INCURRED:   7/2013
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                          $85.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 3967                                                                              DATE INCURRED:   7/2013
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                         $384.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



Sheet no. __________
              5        of __________
                              14     continuation sheets attached to                                                             Subtotal >                            $967.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 24 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 8520                                                                              DATE INCURRED:   10/2013
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                             $890.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 2521                                                                              DATE INCURRED:   7/2013
                                                                                          CONSIDERATION:
Crescent City Credit Recovery                                                             Collecting for -STPH                                                             $312.00
2705 Athania Pkwy                                                                         REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 6210                                                                              DATE INCURRED:   2/2011-various
                                                                                          CONSIDERATION:
Discover Bank                                                                                                                                                            $1,829.00
PO Box 15316                                                                              REMARKS:
                                                                   C
Wilmington, DE 19850



ACCT #: 3192                                                                              DATE INCURRED:   10/2012-various
                                                                                          CONSIDERATION:
First National Bank                                                                       Credit Card                                                                    $3,260.00
500 E 60th St N                                                                           REMARKS:
                                                                   C
Sioux Falls, SD 57104




 Representing:                                                                            FNB Omaha                                                                    Notice Only
 First National Bank                                                                      PO Box 3412
                                                                                          Omaha, NE 68197



ACCT #: 8610                                                                              DATE INCURRED:   12/2014-various
                                                                                          CONSIDERATION:
First Svg CC                                                                                                                                                               $426.00
500 East 60th St N                                                                        REMARKS:
                                                                   C
Sioux Falls, SD 57104



Sheet no. __________
              6        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                           $6,717.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 25 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 5822                                                                              DATE INCURRED:   01/1999
                                                                                          CONSIDERATION:
Kay Jewelers                                                                              Credit Card                                                                    $7,372.00
375 Ghent Rd                                                                              REMARKS:
                                                                   C
Akron, OH 44333



ACCT #: 5975                                                                              DATE INCURRED:   6/2012-various
                                                                                          CONSIDERATION:
Kohls/Capital One                                                                                                                                                        $1,081.00
PO Box 3115                                                                               REMARKS:
                                                                   C
Milwaukee, WI 53201



ACCT #: 4420                                                                              DATE INCURRED:   11/2009-various
                                                                                          CONSIDERATION:
Macy's/DSNB                                                                               Credit Card                                                                    $2,290.00
PO Box 17759                                                                              REMARKS:
                                                                   C
Clearwater, FL 33762




 Representing:                                                                            Macys DSNB
                                                                                                                                                                       Notice Only
 Macy's/DSNB                                                                              911 Duke Blvd
                                                                                          Mason, OH 45040



ACCT #: 9620                                                                              DATE INCURRED:   10/2013-various
                                                                                          CONSIDERATION:
Macy's/DSNB                                                                               Credit Card                                                                      $483.00
PO Box 17759                                                                              REMARKS:
                                                                   C
Clearwater, FL 33762



ACCT #: 5806                                                                              DATE INCURRED:   9/2014-various
                                                                                          CONSIDERATION:
Merrick Bank                                                                                                                                                               $896.00
PO Box 9201                                                                               REMARKS:
                                                                   C
Bethpage, NY 11804



Sheet no. __________
              7        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                          $12,122.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 26 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 2447                                                                              DATE INCURRED:   9/2014
                                                                                          CONSIDERATION:
RISE                                                                                      Credit Card                                                                      $455.00
PO Box 101808                                                                             REMARKS:
                                                                   C
Forth Worth, TX 76185



ACCT #: 6737                                                                              DATE INCURRED:   10/2014
                                                                                          CONSIDERATION:
RISE                                                                                      Credit Card                                                                    $1,452.00
PO Box 101808                                                                             REMARKS:
                                                                   C
Forth Worth, TX 76185



ACCT #: 4095                                                                              DATE INCURRED:   9/2011-various
                                                                                          CONSIDERATION:
Sears/Citibank                                                                            Credit Card                                                                    $4,311.00
PO Box 6282                                                                               REMARKS:
                                                                   C
Sioux Falls, SD 57117




 Representing:                                                                            Sears/CBNA
                                                                                                                                                                       Notice Only
 Sears/Citibank                                                                           133200 Smith Rd
                                                                                          Cleveland, OH 44130



ACCT #: 6120                                                                              DATE INCURRED:   8/2013
                                                                                          CONSIDERATION:
Southern Credit Recovery                                                                  Collecting for -Regional Radiology                                                $86.00
3228 6th St                                                                               REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #: 7057                                                                              DATE INCURRED:   5/2011
                                                                                          CONSIDERATION:
Southern Credit Recovery                                                                  Collecting for -Regional Radiology                                               $202.00
3228 6th St                                                                               REMARKS:
                                                                   C
Metairie, LA 70002



Sheet no. __________
              8        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                           $6,506.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 27 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 0387                                                                              DATE INCURRED:   10/2009
                                                                                          CONSIDERATION:
Southern Credit Recovery                                                                  Collecting for -North Oaks Medical                                               $141.00
3228 6th St                                                                               REMARKS:
                                                                   C
Metairie, LA 70002



ACCT #:                                                                                   DATE INCURRED:   Unknown
                                                                                          CONSIDERATION:
Speedy Cash                                                                               Loan                                                                           $1,146.79
PO Box 780408                                                                             REMARKS:
                                                                   C
Wichita, KS 67278



ACCT #: 9655                                                                              DATE INCURRED:   9/2013-various
                                                                                          CONSIDERATION:
SYNCB/Am Eagle                                                                            Credit Card                                                                      $259.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005



ACCT #: 0928                                                                              DATE INCURRED:   2/2011-various
                                                                                          CONSIDERATION:
SYNCB/Amazon                                                                                                                                                             $2,647.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005




 Representing:                                                                            SYNCB/Amazon                                                                 Notice Only
 SYNCB/Amazon                                                                             PO Box 965015
                                                                                          Orlando, FL 32896



ACCT #: 5498                                                                              DATE INCURRED:   7/2014-various
                                                                                          CONSIDERATION:
SYNCB/Amazon                                                                              Credit Card                                                                      $953.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005



Sheet no. __________
              9        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                           $5,146.79
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 28 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 0809                                                                              DATE INCURRED:   9/2013
                                                                                          CONSIDERATION:
SYNCB/Ashley Home Store                                                                                                                                                  $1,404.00
PO Box 965036                                                                             REMARKS:
                                                                   C
Orlando, FL 32896




 Representing:                                                                            SYNCB/Ashley                                                                 Notice Only
 SYNCB/Ashley Home Store                                                                  950 Forrer Blvd
                                                                                          Kettering, OH 45420



ACCT #: 0607                                                                              DATE INCURRED:   9/2013-various
                                                                                          CONSIDERATION:
SYNCB/Ashley Home Store                                                                   Credit Card                                                                      $823.00
PO Box 965036                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 2271                                                                              DATE INCURRED:   2/2010-various
                                                                                          CONSIDERATION:
SYNCB/Banana Republic                                                                                                                                                      $389.00
PO Box 965005                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 2028                                                                              DATE INCURRED:   4/2008-various
                                                                                          CONSIDERATION:
Syncb/Belk                                                                                Credit Card                                                                    $2,620.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005



ACCT #: 5235                                                                              DATE INCURRED:   6/2012-various
                                                                                          CONSIDERATION:
Syncb/Belk                                                                                Credit Card                                                                      $809.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005



Sheet no. __________
             10        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                           $6,045.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 29 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 1490                                                                              DATE INCURRED:   2/2013-various
                                                                                          CONSIDERATION:
Syncb/Care Credit                                                                         Credit Card                                                                    $1,095.00
PO Box 965036                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 6236                                                                              DATE INCURRED:   3/2012-various
                                                                                          CONSIDERATION:
SYNCB/JCPenney                                                                                                                                                             $585.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005




 Representing:                                                                            SYNCB/JCP                                                                    Notice Only
 SYNCB/JCPenney                                                                           PO Box 965007
                                                                                          Orlando, FL 32896



ACCT #: 9186                                                                              DATE INCURRED:   4/2006-various
                                                                                          CONSIDERATION:
SYNCB/Lowes                                                                               Credit Card                                                                    $8,597.00
PO Box 956005                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 0389                                                                              DATE INCURRED:   6/2006-various
                                                                                          CONSIDERATION:
SYNCB/Sams                                                                                Credit Card                                                                    $5,367.00
PO Box 965005                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 0389                                                                              DATE INCURRED:   2/2013-various
                                                                                          CONSIDERATION:
SYNCB/Sams                                                                                Credit Card                                                                    $1,529.00
PO Box 965005                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



Sheet no. __________
             11        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                          $17,173.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 30 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 1823                                                                              DATE INCURRED:   1/2012-various
                                                                                          CONSIDERATION:
SYNCB/TJ Maxx                                                                                                                                                              $629.00
PO Box 965015                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 0209                                                                              DATE INCURRED:   8/2014-various
                                                                                          CONSIDERATION:
SYNCB/ToysRUs                                                                                                                                                              $200.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005



ACCT #: 5038                                                                              DATE INCURRED:   10/2012-various
                                                                                          CONSIDERATION:
SYNCB/Wal-Mart                                                                            Credit Card                                                                      $695.00
PO Box 965024                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 8550                                                                              DATE INCURRED:   8/2006
                                                                                          CONSIDERATION:
SYNCB/Wal-Mart                                                                            Credit Card                                                                    $5,726.00
PO Box 965024                                                                             REMARKS:
                                                                   C
Orlando, FL 32896



ACCT #: 7035                                                                              DATE INCURRED:   12/2006-various
                                                                                          CONSIDERATION:
SYNCV/JCPenney                                                                                                                                                           $3,830.00
4125 Windward Plaza                                                                       REMARKS:
                                                                   C
Alpharetta, GA 30005




 Representing:                                                                            SYNCB/JCP                                                                    Notice Only
 SYNCV/JCPenney                                                                           PO Box 965007
                                                                                          Orlando, FL 32896



Sheet no. __________
             12        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                          $11,080.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 31 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4974                                                                              DATE INCURRED:   10/2012-various
                                                                                          CONSIDERATION:
TD Bank USA/Target Credit                                                                 Credit Card                                                                      $789.00
PO Box 673                                                                                REMARKS:
                                                                   C
Minneapolis, MN 55440



ACCT #: 1612                                                                              DATE INCURRED:   9/2011-various
                                                                                          CONSIDERATION:
THD/CBNA                                                                                  Credit Card                                                                    $1,744.00
PO Box 6497                                                                               REMARKS:
                                                                   C
Sioux Falls, SD 57117



ACCT #: 0751                                                                              DATE INCURRED:   7/2014-various
                                                                                          CONSIDERATION:
Tower Loan                                                                                Credit Card                                                                    $2,190.00
PO Box 320001                                                                             REMARKS:
                                                                   C
Flowood, MS 39232



ACCT #: 6979                                                                              DATE INCURRED:   11/2012-various
                                                                                          CONSIDERATION:
Usbank                                                                                    Credit Card                                                                    $1,512.00
Cb Disputes                                                                               REMARKS:
                                                                   C
PO Box 108
Saint Louis, MO-63166

ACCT #: 6649                                                                              DATE INCURRED:   3/2011-various
                                                                                          CONSIDERATION:
Usbank                                                                                    Credit Card                                                                    $3,764.00
Cb Disputes                                                                               REMARKS:
                                                                   C
PO Box 108
Saint Louis, MO-63166

ACCT #: 4410                                                                              DATE INCURRED:   5/2010-various
                                                                                          CONSIDERATION:
WF/Dillards                                                                                                                                                              $2,750.00
800 Walnut St                                                                             REMARKS:
                                                                   C
Des Moines, IA 50309



Sheet no. __________
             13        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                          $12,749.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
       Case
B6F (Official    15-11296
              Form 6F) (12/07)Doc  1
                              - Cont.    Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 32 of 69
  In re Walter L Dewitt                                                                                                 Case No.
           Julie A Dewitt                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                               AMOUNT OF




                                                                                                                                                       UNLIQUIDATED
                                                                                                                                          CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                                  CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4730                                                                              DATE INCURRED:   4/2012
                                                                                          CONSIDERATION:
WF/Dillards                                                                               Credit Card                                                                     $1,656.00
800 Walnut St                                                                             REMARKS:
                                                                   C
Des Moines, IA 50309



ACCT #: 8770                                                                              DATE INCURRED:   11/2013-various
                                                                                          CONSIDERATION:
Worlds Foremost Bank                                                                                                                                                      $1,571.00
4800 NW 1st St                                                                            REMARKS:
                                                                   C
Lincoln, NE 68521



ACCT #: 4649                                                                              DATE INCURRED:   2/2011-various
                                                                                          CONSIDERATION:
Zales                                                                                                                                                                     $2,648.00
PO Box 6497                                                                               REMARKS:
                                                                   C
Sioux Falls, SD 57117




Sheet no. __________
             14        of __________
                              14     continuation sheets attached to                                                                 Subtotal >                            $5,875.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                                      $128,753.79
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
        Case
B6G (Official Form15-11296
                   6G) (12/07)   Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 33 of 69
   In re Walter L Dewitt                                                                Case No.
         Julie A Dewitt                                                                                 (if known)



                    SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


 Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE W HETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
        Case
B6H (Official Form15-11296
                   6H) (12/07)   Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 34 of 69
In re Walter L Dewitt                                                                              Case No.
      Julie A Dewitt                                                                                                      (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

 Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
       Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 35 of 69
 Fill in this information to identify your case:
     Debtor 1              Walter               L                      Dewitt
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Julie                A                      Dewitt
     (Spouse, if filing)   First Name           Middle Name            Last Name                               An amended filing

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF LOUISIANA                                   A supplement showing post-petition
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                          Employed
      with information about                                         Not employed                                      Not employed
      additional employers.
                                        Occupation             Site Manager                                         Disabled
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Turner Industries

      Occupation may include            Employer's address     8687 United Plaza Blvd.
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Baton Rouge                  LA      70809
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        15 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $11,448.67                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $11,448.67                    $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
     Case
Debtor      15-11296
       1 Walter                       DocL1 Filed 05/26/15Dewitt
                                                           Entered 05/26/15 14:40:21  Main(ifDocument
                                                                                Case number  known)   Page 36 of 69
           First Name                         Middle Name                       Last Name


                                                                                                                   For Debtor 1                 For Debtor 2 or
                                                                                                                                                non-filing spouse

                                                                                                          4.
     Copy line 4 here ...................................................................................................................
                                                                                                                               $11,448.67                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.           $2,114.69                       $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.               $0.00                       $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.            $800.00                        $0.00
     5d. Required repayments of retirement fund loans                                                      5d.               $0.00                       $0.00
     5e. Insurance                                                                                         5e.           $1,011.35                       $0.00
     5f. Domestic support obligations                                                                      5f.               $0.00                       $0.00
     5g. Union dues                                                                                        5g.              $17.26                       $0.00
     5h. Other deductions.
         Specify:                                                                                          5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $3,943.30                       $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.            $7,505.37                       $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00                    $0.00
         business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                            8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                         8d.                  $0.00                    $0.00
     8e. Social Security                                                                                   8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) or any non-
           cash assistance that you receive, such as food stamps
           (benefits under the Supplemental Nutrition Assistance Program)
           or housing subsidies.
           Specify:                                                                                        8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00                    $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.                   $0.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                         10.           $7,505.37          +            $0.00      =       $7,505.37
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                               11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.             $7,505.37
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
          Yes. Explain:




Official Form B 6I                                                              Schedule I: Your Income                                                                          page 2
       Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 37 of 69
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Walter                   L                    Dewitt                           An amended filing
                           First Name               Middle Name          Last Name
                                                                                                              A supplement showing post-petition
                                                                                                               chapter 13 expenses as of the
     Debtor 2              Julie                    A                    Dewitt
     (Spouse, if filing)   First Name               Middle Name          Last Name                             following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF LOUISIANA                                  MM / DD / YYYY
     Case number
     (if known)
                                                                                                              A separate filing for Debtor 2 because
                                                                                                               Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                 No
                                                                                       Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                                                                       Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.
                                                                                                                                          No

      Do not state the
                                                                                                                                          Yes

      dependents' names.                                                                                                                  No
                                                                                                                                          Yes

                                                                                                                                          No
                                                                                                                                          Yes

                                                                                                                                          No
                                                                                                                                          Yes

                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                         No
      expenses of people other than
      yourself and your dependents?
                                                       Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,995.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                               Schedule J: Your Expenses                                                         page 1
     Case
Debtor      15-11296
       1 Walter                  DocL1 Filed 05/26/15Dewitt
                                                      Entered 05/26/15 14:40:21  Main(ifDocument
                                                                           Case number  known)   Page 38 of 69
            First Name              Middle Name             Last Name


                                                                                              Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans         5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                 6a.                    $350.00
     6b. Water, sewer, garbage collection                                               6b.                     $55.00
     6c. Telephone, cell phone, Internet, satellite, and                                6c.                    $341.00
         cable services
     6d. Other. Specify:                                                                6d.

7.   Food and housekeeping supplies                                                     7.                     $400.00
8.   Childcare and children's education costs                                           8.

9.   Clothing, laundry, and dry cleaning                                                9.                      $90.00
10. Personal care products and services                                                 10.                     $80.00
11. Medical and dental expenses                                                         11.                   $2,314.35
12. Transportation. Include gas, maintenance, bus or train                              12.                    $500.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                       13.
    magazines, and books
14. Charitable contributions and religious donations                                    14.

15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                             15a.

     15b.    Health insurance                                                           15b.

     15c.    Vehicle insurance                                                          15c.                   $120.00
     15d.    Other insurance. Specify:                                                  15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                            16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1    Harley Davidson                              17a.                   $360.00
     17b.    Car payments for Vehicle 2                                                 17b.

     17c.    Other. Specify:                                                            17c.

     17d.    Other. Specify:                                                            17d.

18. Your payments of alimony, maintenance, and support that you did not report as       18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                            19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                20a.

     20b.    Real estate taxes                                                          20b.

     20c.    Property, homeowner's, or renter's insurance                               20c.

     20d.    Maintenance, repair, and upkeep expenses                                   20d.

     20e.    Homeowner's association or condominium dues                                20e.

21. Other. Specify:                                                                     21.     +


 Official Form B 6J                                         Schedule J: Your Expenses                             page 2
     Case
Debtor      15-11296
       1 Walter                 DocL1 Filed 05/26/15Dewitt
                                                     Entered 05/26/15 14:40:21  Main(ifDocument
                                                                          Case number  known)   Page 39 of 69
           First Name              Middle Name             Last Name


22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $6,605.35
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $7,505.37
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $6,605.35
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $900.02

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                 Plan payment increases after Harley Davidson pays out.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
       Case
B 6 Summary    15-11296
            (Official           Doc 1 Filed
                      Form 6 - Summary) (12/14)   05/26/15 Entered 05/26/15 14:40:21 Main Document Page 40 of 69
                                             UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF LOUISIANA
                                                   NEW ORLEANS DIVISION
   In re Walter L Dewitt                                                             Case No.
         Julie A Dewitt
                                                                                     Chapter       13



                                                     SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                      ASSETS                  LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                            Yes        1                  $225,000.00


 B - Personal Property                        Yes        5                  $136,625.00

 C - Property Claimed                         Yes        1
     as Exempt
 D - Creditors Holding                        Yes        2                                          $303,552.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          Yes        1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured              Yes        15                                         $128,753.79
     Nonpriority Claims
 G - Executory Contracts and                  Yes        1
    Unexpired Leases

 H - Codebtors                                Yes        1


 I - Current Income of                        Yes        2                                                                   $7,505.37
     Individual Debtor(s)
 J - Current Expenditures of                  Yes        3                                                                   $6,605.35
    Individual Debtor(s)

                                             TOTAL       32                 $361,625.00             $432,305.79
       Case
B 6 Summary    15-11296
            (Official           Doc 1 Filed
                      Form 6 - Summary) (12/14)   05/26/15 Entered 05/26/15 14:40:21 Main Document Page 41 of 69
                                             UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF LOUISIANA
                                                   NEW ORLEANS DIVISION
    In re Walter L Dewitt                                                             Case No.
          Julie A Dewitt
                                                                                      Chapter       13



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                   $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                           TOTAL                   $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $7,505.37

 Average Expenses (from Schedule J, Line 22)                                   $6,605.35

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                        $11,448.67

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $32,552.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $128,753.79

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $161,305.79
        Case (Official
B6 Declaration 15-11296Form 6Doc  1 Filed (12/07)
                              - Declaration) 05/26/15     Entered 05/26/15 14:40:21 Main Document Page 42 of 69
In re Walter L Dewitt                                                                  Case No.
      Julie A Dewitt                                                                                         (if known)



                              DECLARATION CONCERNING DEBTOR'S SCHEDULES
                          DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 34
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 5/22/2015                                               Signature    /s/ Walter L Dewitt
                                                                         Walter L Dewitt

Date 5/22/2015                                               Signature    /s/ Julie A Dewitt
                                                                         Julie A Dewitt
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
         Case
B7 (Official      15-11296
             Form 7) (04/13)      Doc 1 Filed 05/26/15
                                           UNITED      Entered
                                                  STATES       05/26/15 14:40:21
                                                           BANKRUPTCY    COURT Main Document Page 43 of 69
                                                     EASTERN DISTRICT OF LOUISIANA
                                                         NEW ORLEANS DIVISION
  In re:    Walter L Dewitt                                                                          Case No.
            Julie A Dewitt                                                                                                   (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
      including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $43,406.00                  2015 YTD: Husband employment income

        $134,403.00                 2014: Husband employment income

        $126,016.00                 2013: Husband employment income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
      TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
      debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Harley Davidson Credit                                           March-April             $1,080.00               $11,377.00
        3850 Arrowhead Dr                                                2015
        Carson City, NV 89706

        Ford Motor Credit                                                March-April             $1,528.00               $39,238.00
        PO Box 542000                                                    2015
        Omaha, NE 68154-8000

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
         Case
B7 (Official      15-11296
             Form 7) (04/13)     Doc 1 Filed 05/26/15
                                          UNITED      Entered
                                                 STATES       05/26/15 14:40:21
                                                          BANKRUPTCY    COURT Main Document Page 44 of 69
                                                    EASTERN DISTRICT OF LOUISIANA
                                                        NEW ORLEANS DIVISION
  In re:    Walter L Dewitt                                                                       Case No.
            Julie A Dewitt                                                                                                (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
      to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
      case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
      COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
      consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Office of Rachel Thyre Anderson, LLC                     04/28/2015                       $190.00 attorney fee, $310.00
        428 W. 21st Ave                                                                               filing fee, $9.95 credit
        Covington, LA 70433                                                                           counseling course fee
         Case
B7 (Official      15-11296
             Form 7) (04/13)      Doc 1 Filed 05/26/15
                                           UNITED      Entered
                                                  STATES       05/26/15 14:40:21
                                                           BANKRUPTCY    COURT Main Document Page 45 of 69
                                                     EASTERN DISTRICT OF LOUISIANA
                                                         NEW ORLEANS DIVISION
  In re:    Walter L Dewitt                                                                        Case No.
            Julie A Dewitt                                                                                                 (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
      either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.

       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
      transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Capital One Bank                                              Checking                                  Closed April 2015,
                                                                                                                $400.00 balance when
                                                                                                                closed

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.

       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
         Case
B7 (Official      15-11296
             Form 7) (04/13)      Doc 1 Filed 05/26/15
                                           UNITED      Entered
                                                  STATES       05/26/15 14:40:21
                                                           BANKRUPTCY    COURT Main Document Page 46 of 69
                                                     EASTERN DISTRICT OF LOUISIANA
                                                         NEW ORLEANS DIVISION
  In re:    Walter L Dewitt                                                                         Case No.
            Julie A Dewitt                                                                                                  (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
      Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
      or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
      dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.

         Case
B7 (Official      15-11296
             Form 7) (04/13)      Doc 1 Filed 05/26/15
                                           UNITED      Entered
                                                  STATES       05/26/15 14:40:21
                                                           BANKRUPTCY    COURT Main Document Page 47 of 69
                                                      EASTERN DISTRICT OF LOUISIANA
                                                          NEW ORLEANS DIVISION
  In re:    Walter L Dewitt                                                                            Case No.
            Julie A Dewitt                                                                                                     (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
      keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
      and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
      debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
      the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
      dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
      holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
      commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
      preceding the commencement of this case.
         Case
B7 (Official      15-11296
             Form 7) (04/13)      Doc 1 Filed 05/26/15
                                           UNITED      Entered
                                                  STATES       05/26/15 14:40:21
                                                           BANKRUPTCY    COURT Main Document Page 48 of 69
                                                      EASTERN DISTRICT OF LOUISIANA
                                                          NEW ORLEANS DIVISION
   In re:   Walter L Dewitt                                                                           Case No.
            Julie A Dewitt                                                                                                    (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
      bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
      purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
      has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 5/22/2015                                                          Signature          /s/ Walter L Dewitt
                                                                        of Debtor          Walter L Dewitt

Date 5/22/2015                                                          Signature       /s/ Julie A Dewitt
                                                                        of Joint Debtor Julie A Dewitt
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
       Case 15-11296 Doc 1 Filed 05/26/15
                              UNITED      Entered
                                     STATES       05/26/15 14:40:21
                                              BANKRUPTCY    COURT Main Document Page 49 of 69
                                              EASTERN DISTRICT OF LOUISIANA
                                                  NEW ORLEANS DIVISION
IN RE:     Walter L Dewitt                                                               CASE NO
           Julie A Dewitt
                                                                                        CHAPTER      13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $2,500.00
     Prior to the filing of this statement I have received:                                         $190.00
     Balance Due:                                                                                  $2,310.00

2. The source of the compensation paid to me was:
                 Debtor                      Other (specify)

3. The source of compensation to be paid to me is:
                 Debtor                      Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Representation of the debtor in any dischargeability actions, judicial lien avoidances, relief from stay actions or
   any other adversary proceedings.


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       5/22/2015                              /s/ Rachel Thyre Anderson
                         Date                                 Rachel Thyre Anderson                     Bar No. 33501
                                                              Law Office of Rachel Thyre Anderson, LLC
                                                              428 W. 21st Ave.
                                                              Covington, LA 70433
                                                              rachel@rachelandersonlaw.com
                                                              Phone: (985) 377-9271 / Fax: (866) 985-3020972
       Case 15-11296 Doc 1 Filed 05/26/15
                              UNITED      Entered
                                     STATES       05/26/15 14:40:21
                                              BANKRUPTCY    COURT Main Document Page 50 of 69
                                         EASTERN DISTRICT OF LOUISIANA
                                             NEW ORLEANS DIVISION
  IN RE:   Walter L Dewitt                                                            CASE NO
           Julie A Dewitt
                                                                                      CHAPTER   13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 5/22/2015                                           Signature    /s/ Walter L Dewitt
                                                                     Walter L Dewitt



Date 5/22/2015                                           Signature    /s/ Julie A Dewitt
                                                                     Julie A Dewitt
Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 51 of 69

                          American Express
                          PO Box 650448
                          Dallas, TX 75265



                          AT&T
                          PO Box 536216
                          Atlanta, GA 30353



                          Bank of America
                          PO Box 650070
                          Dallas, TX 75265



                          Bank of America NA
                          4161 Piedmont Pkwy
                          Greensboro, NC 27410



                          Barclays Bank Delaware
                          125 S West St
                          Wilmington, DE 19801



                          Best Buy/CBNA
                          PO Box 6497
                          Sioux Falls, SD     57117



                          Capital One
                          PO Box 30281
                          Salt Lake City, UT 84130



                          Castle Payday
                          Attn: Customer Support
                          PO Box 704
                          Watersmeet, MI 49969


                          Chase Bank USA
                          PO Box 15298
                          Wilmington, DE 19850
Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 52 of 69

                          Citicards CBNA
                          PO Box 6241
                          Sioux Falls, SD 57117



                          Comenity Bank
                          PO Box 182789
                          Columbus, OH 43218



                          Conns Credit Corp
                          3295 College St
                          Beaumont TX 77701



                          Credit One Bank
                          PO Box 98873
                          Las Vegas, NV 89193



                          Crescent City Credit Recovery
                          2705 Athania Pkwy
                          Metairie, LA 70002



                          Discover Bank
                          PO Box 15316
                          Wilmington, DE 19850



                          First National Bank
                          500 E 60th St N
                          Sioux Falls, SD 57104



                          First Svg CC
                          500 East 60th St N
                          Sioux Falls, SD 57104



                          FNB Omaha
                          PO Box 3412
                          Omaha, NE 68197
Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 53 of 69

                          Ford Motor Credit
                          PO Box 542000
                          Omaha, NE 68154-8000



                          Harley Davidson Credit
                          3850 Arrowhead Dr
                          Carson City, NV 89706



                          Kay Jewelers
                          375 Ghent Rd
                          Akron, OH 44333



                          Kohls/Capital One
                          PO Box 3115
                          Milwaukee, WI 53201



                          Macy's/DSNB
                          PO Box 17759
                          Clearwater, FL 33762



                          Macys DSNB
                          911 Duke Blvd
                          Mason, OH 45040



                          Merrick Bank
                          PO Box 9201
                          Bethpage, NY 11804



                          Pelican State Credit
                          3232 S Sherwood Forest Blvd
                          Baton Rouge, LA 70816



                          RISE
                          PO Box 101808
                          Forth Worth, TX 76185
Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 54 of 69

                          Sears/CBNA
                          133200 Smith Rd
                          Cleveland, OH 44130



                          Sears/Citibank
                          PO Box 6282
                          Sioux Falls, SD 57117



                          Southern Credit Recovery
                          3228 6th St
                          Metairie, LA 70002



                          Speedy Cash
                          PO Box 780408
                          Wichita, KS 67278



                          SYNCB/Am Eagle
                          4125 Windward Plaza
                          Alpharetta, GA 30005



                          SYNCB/Amazon
                          4125 Windward Plaza
                          Alpharetta, GA 30005



                          SYNCB/Amazon
                          PO Box 965015
                          Orlando, FL 32896



                          SYNCB/Ashley
                          950 Forrer Blvd
                          Kettering, OH 45420



                          SYNCB/Ashley Home Store
                          PO Box 965036
                          Orlando, FL 32896
Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 55 of 69

                          SYNCB/Banana Republic
                          PO Box 965005
                          Orlando, FL 32896



                          Syncb/Belk
                          4125 Windward Plaza
                          Alpharetta, GA 30005



                          Syncb/Care Credit
                          PO Box 965036
                          Orlando, FL 32896



                          SYNCB/JCP
                          PO Box 965007
                          Orlando, FL 32896



                          SYNCB/JCPenney
                          4125 Windward Plaza
                          Alpharetta, GA 30005



                          SYNCB/Lowes
                          PO Box 956005
                          Orlando, FL 32896



                          SYNCB/Sams
                          PO Box 965005
                          Orlando, FL 32896



                          SYNCB/TJ Maxx
                          PO Box 965015
                          Orlando, FL 32896



                          SYNCB/ToysRUs
                          4125 Windward Plaza
                          Alpharetta, GA 30005
Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 56 of 69

                          SYNCB/Wal-Mart
                          PO Box 965024
                          Orlando, FL 32896



                          SYNCV/JCPenney
                          4125 Windward Plaza
                          Alpharetta, GA 30005



                          TD Bank USA/Target Credit
                          PO Box 673
                          Minneapolis, MN 55440



                          THD/CBNA
                          PO Box 6497
                          Sioux Falls, SD 57117



                          Tower Loan
                          PO Box 320001
                          Flowood, MS 39232



                          Usbank
                          Cb Disputes
                          PO Box 108
                          Saint Louis, MO-63166


                          WF/Dillards
                          800 Walnut St
                          Des Moines, IA 50309



                          Worlds Foremost Bank
                          4800 NW 1st St
                          Lincoln, NE 68521



                          Zales
                          PO Box 6497
                          Sioux Falls, SD 57117
     Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21
 Fill in this information to identify your case:            Check Main   Document
                                                                  as directed           Page
                                                                              in lines 17     57 of 69
                                                                                          and 21:

 Debtor 1             Walter                 L                   Dewitt                      According to the calculations required by this
                      First Name             Middle Name         Last Name                   Statement:

 Debtor 2            Julie                   A                   Dewitt                      1. Disposable income is not determined
 (Spouse, if filing) First Name              Middle Name         Last Name                        under 11 U.S.C. § 1325(b)(3).

                                                                                               2. Disposable income is determined
 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA                             under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                 3. The commitment period is 3 years.
 (if known)
                                                                                             4. The commitment period is 5 years.

                                                                                               Check if this is an amended filing
Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/14
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

         Not married. Fill out Column A, lines 2-11.

         Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                           Column A         Column B
                                                                                           Debtor 1         Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                     $11,448.67                $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                      $0.00               $0.00
     if Column B is filled in.
4.   All amounts from any source which are regularly paid for household                           $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.

5.   Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                               $0.00
     Ordinary and necessary operating expenses               –            $0.00
                                                                                  Copy
     Net monthly income from a business, profession, or farm              $0.00 here             $0.00               $0.00


6.   Net income from rental and other real property
     Gross receipts (before all deductions)                               $0.00
     Ordinary and necessary operating expenses               –            $0.00
                                                                                  Copy
     Net monthly income from rental or other real property                $0.00 here             $0.00               $0.00


7.   Interest, dividends, and royalties                                                           $0.00               $0.00




Official Form 22C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                   page 1
     Case
Debtor 1  15-11296
         Walter                           DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                                            Dewitt              Case number Main    Document Page 58 of 69
                                                                                            (if known)
                 First Name                        Middle Name                      Last Name


                                                                                                                                          Column A                  Column B
                                                                                                                                          Debtor 1                  Debtor 2 or
                                                                                                                                                                    non-filing spouse

8.    Unemployment compensation                                                                                                                      $0.00                          $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                     
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                         $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                          $0.00                          $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

          10a.

          10b.

          10c. Total amounts from separate pages, if any.                                                                           +                              +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                $11,448.67             +                 $0.00        =        $11,448.67
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                   Total average
                                                                                                                                                                                                   monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                       $11,448.67
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:

            You are not married. Fill in 0 in line 13d.

            You are married and your spouse is filing with you. Fill in 0 in line 13d.

            You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.

             In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 on line 13d.

             13a.
             13b.
             13c.                                                                                                   +
                                                                                                                                         $0.00
             13d. Total......................................................................................................................             Copy   here. 
                                                                                                                                                             ......................... 13d.       –                $0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                           14.            $11,448.67

15. Calculate your current monthly income for the year. Follow these steps:

      15a.     Copy line 14 here                                                                                                                                                           15a.          $11,448.67
                                             ...................................................................................................................................................................................
               Multiply line 15a by 12 (the number of months in a year).                                                                                                                              X          12

      15b.     The result is your current monthly income for the year for this part of the form.                                                                                            15b.       $137,384.04




Official Form 22C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                  page 2
     Case
Debtor 1  15-11296
         Walter                      DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                                       Dewitt              Case number Main    Document Page 59 of 69
                                                                                       (if known)
              First Name                     Middle Name                     Last Name


16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                  Louisiana
    16b.    Fill in the number of people in your household.                                               2

    16c.                                                                                                                                                             $50,078.00
            Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                       16c.
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
    17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that
                   form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                            $11,448.67
                                                                                         ..............................................................................................................................................
                                                                                                                                                                                      18.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13d.

    If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                19a.    –                 $0.00

    Subtract line 19a from line 18.                                                                                                                                                 19b.            $11,448.67

20. Calculate your current monthly income for the year. Follow these steps:

    20a.                                                                                                                                                                                          $11,448.67
            Copy line 19b ...................................................................................................................................................................................
                                                                                                                                                                                     20a.

            Multiply by 12 (the number of months in a year).                                                                                                                                    X          12

    20b.    The result is your current monthly income for the year for this part of the form.                                                                                         20b.       $137,384.04

    20c.                                                                                                                                                 $50,078.00
            Copy the median family income for your state and size of household from line 16c. ..............................................................................................................
                                                                                                                                           20c.

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.

          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X      /s/ Walter L Dewitt                                                                             X       /s/ Julie A Dewitt
           Walter L Dewitt                                                                                         Julie A Dewitt

        Date 5/22/2015                                                                                           Date 5/22/2015
             MM / DD / YYYY                                                                                           MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 22C-2.

    If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                 page 3
      Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 60 of 69
 Fill in this information to identify your case:
 Debtor 1               Walter                       L                            Dewitt
                        First Name                   Middle Name                  Last Name

 Debtor 2            Julie                           A                            Dewitt
 (Spouse, if filing) First Name                      Middle Name                  Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)
                                                                                                                              Check if this is an amended filing


Official Form 22C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                                 12/14
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 22C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 22C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 22C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                           2
      be different from the number of people in your household.


 National Standards                You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                       $1,092.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                   $60.00
      7b. Number of people who are under 65                                       X                 2
                                                                                                         Copy line 7c
      7c. Subtotal. Multiply line 7a by line 7b.                                         $120.00 here                                   $120.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                 $144.00
      7e. Number of people who are 65 or older                                    X                 0
                                                                                                         Copy line 7f
      7f.   Subtotal. Multiply line 7d by line 7e.                                           $0.00 here                      +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                              $120.00 here  7g.
      7g. Total. Add lines 7c and 7f................................................................................................................................          $120.00




Official Form 22C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                             page 1
     Case
Debtor 1  15-11296
         Walter              DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                               Dewitt              Case number Main    Document Page 61 of 69
                                                                               (if known)
            First Name             Middle Name           Last Name



 Local Standards            You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

  Housing and utilities -- Insurance and operating expenses
  Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.   Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                 $492.00
      fill in the dollar amount listed for your county for insurance and operating expenses.

 9.   Housing and utilities -- Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $863.00
          for your county for mortgage or rent expenses.

      9b. Total average monthly payment for all mortgages and other debts secured by
          your home.

           To calculate the total average monthly payment, add all amounts that are
           contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Next divide by 60.

            Name of the creditor                                 Average monthly
                                                                 payment

           Bank of America NA                                        $1,368.00

           Pelican State Credit                                       $627.00

                                                             +
                                                                                                                Repeat this
                                                                               Copy line 9b                     amount on
           9b. Total average monthly payment                         $1,995.00 here            –     $1,995.00 line 33a.

      9c. Net mortgage or rent expense.
                                                                                                                    Copy line 9c
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or                      $0.00 here               $0.00
           rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain
      why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
          0. Go to line 14.
          1. Go to line 12.
          2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                   $488.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 22C-2                                  Chapter 13 Calculation of Your Disposable Income                                 page 2
     Case
Debtor 1  15-11296
         Walter              DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                               Dewitt              Case number Main    Document Page 62 of 69
                                                                               (if known)
            First Name             Middle Name            Last Name


 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1       Describe Vehicle 1:    Harley Davidson 2010



      13a. Ownership or leasing costs using IRS Local Standard                                 13a.    $517.00

      13b. Average monthly payment for all debts secured by Vehicle 1.

           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all
           amounts that are contractually due to each secured creditor in the 60 months
           after you file for bankruptcy. Then divide by 60.


            Name of each creditor for Vehicle 1                 Average monthly
                                                                payment
                                                                                                               Repeat this
                                                                                        Copy 13b               amount on
           Harley Davidson Credit                                     $230.69           here      –   $230.69 line 33b.

                                                                                                               Copy net
                                                                                                               Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                           expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0.          13c.    $286.31 here                     $286.31


      Vehicle 2       Describe Vehicle 2:    2014 Ford F150 (approximately 8,000 miles)



      13d. Ownership or leasing costs using IRS Local Standard                                 13d.    $517.00

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

            Name of each creditor for Vehicle 2                 Average monthly
                                                                payment
                                                                                                               Repeat this
                                                                                        Copy                   amount on
           Ford Motor Credit                                          $867.88           here      –   $867.88 line 33c.

                                                                                                                Copy net
                                                                                                                Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                            expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.               13f.       $0.00 here                      $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                  $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-          $2,114.69
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.




Official Form 22C-2                                    Chapter 13 Calculation of Your Disposable Income                                     page 3
     Case
Debtor 1  15-11296
         Walter               DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                                Dewitt              Case number Main    Document Page 63 of 69
                                                                                (if known)
               First Name         Middle Name           Last Name


 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                   $17.26
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                      $93.41
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                        $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                    $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                      $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                    $2,044.35
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                           +               $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 22C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                             $6,748.02

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                          $900.68
      Disability insurance                                       $17.26
      Health savings account                           +            $0.00

      Total                                                     $917.94 Copy total here                                                                      $917.94
                                                                                              ...........................................................................
      Do you actually spend this total amount?

             No. How much do you actually spend?

             Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                   $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses.

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                               $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.




Official Form 22C-2                                  Chapter 13 Calculation of Your Disposable Income                                                             page 4
     Case
Debtor 1  15-11296
         Walter                      DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                                       Dewitt              Case number Main    Document Page 64 of 69
                                                                                       (if known)
             First Name                      Middle Name                      Last Name


 28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
     allowance on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in the non-
      mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                                                               $0.00
     $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                                                                $0.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.
                                                                                                                                                                                                      $917.94
     Add lines 25 though 31.

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33g.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                      Average monthly
                                                                                                                                      payment
             Mortgages on your home

      33a.                                                                                                                                  $1,995.00
             Copy line 9b here............................................................................................................................................................................................

             Loans on your first two vehicles

      33b.                                                                                                                                    $230.69
             Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                    $867.88
             Copy line 13e here............................................................................................................................................................................................
      Name of each creditor for                                   Identify property that                       Does payment
      other secured debt                                          secures the debt                             include taxes or
                                                                                                               insurance?

      33d.                                                                                                                   No
                                                                                                                             Yes

      33e.                                                                                                                   No
                                                                                                                             Yes

      33f.                                                                                                                   No
                                                                                                                                       +
                                                                                                                             Yes
                                                                                                                                                                       Copy total
      33f.                                                                                                       $3,093.57
             Total average monthly payment. Add lines 33a through 33f...............................................................                                   here                       $3,093.57




Official Form 22C-2                                                      Chapter 13 Calculation of Your Disposable Income                                                                                   page 5
     Case
Debtor 1  15-11296
         Walter                   DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                                    Dewitt              Case number Main    Document Page 65 of 69
                                                                                    (if known)
              First Name                 Middle Name                  Last Name


 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

           No. Go to line 35.
           Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                    Identify property that                      Total cure                            Monthly cure
                                         secures the debt                            amount                                amount

 Bank of America NA                      40337 C C Rd, Ponchatoula, LA$4,500.00                             ÷ 60 =                  $75.00

 Ford Motor Credit                       2014 Ford F150 (approximately 8,000
                                                                        $764.00   ÷ 60 =
                                                                             miles)                                                 $12.73

 Harley Davidson Credit                  Harley Davidson 2010                               $360.00         ÷ 60 =     +             $6.00
 (See continuation page.)                                                                                                                          Copy total
                                                                                                             Total                $118.73          here          $118.73

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.

           No.     Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                    Total amount of all past-due priority claims...................................................................................... ÷ 60 =       $0.00

 36. Projected monthly Chapter 13 plan payment                                                                                    $901.02
      Current multiplier for your district as stated on the list issued by the Administrative
      Office of the United States Courts (for districts in Alabama and North Carolina) or
      by the Executive Office for United States Trustees (for all other districts).

                                                                                                                             X           5.5 %
      To find a list of district multipliers that includes your district, go online using the link
      specified in the separate instructions for this form. This list may also be available
      at the bankruptcy clerk's office.

                                                                                                                                                   Copy total
      Average monthly administrative expense                                                                                        $49.56         here           $49.56

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                   $3,261.86

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                            $6,748.02
      Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

      Copy line 32, All of the additional expense deductions............................................................... $917.94

      Copy line 37, All of the deductions for debt payment.....................................................        +         $3,261.86
                                                                                                                                                   Copy total
      Total deductions                                                                                                       $10,927.82            here        $10,927.82




 Part 2:        Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13
                                                                                                                                            $11,448.67
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................



Official Form 22C-2                                              Chapter 13 Calculation of Your Disposable Income                                                    page 6
     Case
Debtor 1  15-11296
         Walter                          DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                                           Dewitt              Case number Main    Document Page 66 of 69
                                                                                           (if known)
                  First Name                      Middle Name                    Last Name


 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 22C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans
                                                                                                                                                    $800.00
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                            $10,927.82
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense


        43a.

        43b.

        43c.                                                                                +
                                                                                                                         Copy 43d
                                                                                                            $0.00 here                                  $0.00
        43d. Total. Add lines 43a through 43c..........................................                                +
                                                                                                                                                   Copy total
                                                                                                               $11,727.82 here  – $11,727.82
 44. Total adjustments. Add lines 40 through 43d..............................................................................................................................


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                        ($279.15)

 Part 3:            Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 22C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


          Form                Line        Reason for change                                                                Date of change                       Increase or      Amount of change
                                                                                                                                                                decrease?

               22C-1                                                                                                                                                Increase
               22C-2                                                                                                                                                Decrease

               22C-1                                                                                                                                                Increase
               22C-2                                                                                                                                                Decrease

               22C-1                                                                                                                                                Increase
               22C-2                                                                                                                                                Decrease

               22C-1                                                                                                                                                Increase
               22C-2                                                                                                                                                Decrease




Official Form 22C-2                                                         Chapter 13 Calculation of Your Disposable Income                                                                page 7
     Case
Debtor 1  15-11296
         Walter              DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                               Dewitt              Case number Main    Document Page 67 of 69
                                                                               (if known)
            First Name            Middle Name           Last Name


 Part 4:      Sign Below

      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X    /s/ Walter L Dewitt                                                X     /s/ Julie A Dewitt
           Walter L Dewitt                                                          Julie A Dewitt

          Date 5/22/2015                                                          Date 5/22/2015
               MM / DD / YYYY                                                          MM / DD / YYYY




Official Form 22C-2                                  Chapter 13 Calculation of Your Disposable Income                                        page 8
     Case
Debtor 1  15-11296
         Walter          DocL1 Filed 05/26/15 Entered 05/26/15 14:40:21
                                           Dewitt              Case number Main    Document Page 68 of 69
                                                                           (if known)
            First Name      Middle Name          Last Name




34. Cure amounts (continued):

 Creditor                                 Collateral                              Total cure amount    Monthly cure amount
 Pelican State Credit                     40337 C C Rd, Ponchatoula, LA                $1,500.00   ÷ 60 =          $25.00




Official Form 22C-2                           Chapter 13 Calculation of Your Disposable Income                       page 9
  Case 15-11296 Doc 1 Filed 05/26/15 Entered 05/26/15 14:40:21 Main Document Page 69 of 69
       In re:   Walter L Dewitt                                                    Case No.
                Julie A Dewitt

                                                  EXHIBIT "A"
                            Bankruptcy Rule 2016(b) Disclosure of Fixed Fee Agreement

      Rachel Thyre Anderson files this Bankruptcy Rule 2016(b) Disclosure and Application for Approval of Fixed Fee
Agreement.

       1.       I have agreed to provide the following services to the Debtors(s) on a fixed fee basis:

                A.      Counsel with the Debtor(s) on an as needed basis;

                B.      Prepare and file a proposed Chapter 13 plan and any required amendments to the plan;

                C.    Prepare and file the required schedules, statement of financial affairs, and any other required
                documents with the Court, Chapter 13 Trustee, or United States Trustee's office;

                D.      Prepare and file miscellaneous motions required to protect the Debtor(s)' interests in the case;

                E.       Prepare and file responses to motions filed against Debtor(s)--even if the response is a statement
                that the Debtors have no opposition to the relief requested;

                F.      Attend the §341(a) meeting of creditors;

                G.     Objections to claims necessary to confirm, implement or enforce the terms of a plan which could
                have been brought within 120 days of confirmation;

                H.      Attend the confirmation hearing, if required under the circumstances, including but not limited to if
                Objection is filed; and

                I.     Advise the Debtor(s) concerning their obligations and duties pursuant to the Bankruptcy Code,
                Bankruptcy Rules, applicable court orders and the provisions of their chapter 13 plan.

       2.       The fixed fee agreement does not include the following services:

                A.      Representation of the Debtor(s) in an adversary proceeding, either as a plaintiff or a defendant;

                B.      Representation of the Debtor(s) in a contested matter, the subject of which is extraordinary in the
                context of chapter 13 cases in the United States Bankruptcy Court for the Eastern District of Louisiana;

                C.      Representation of the Debtor(s) in any matter in which the Court orders fee shifting pursuant to
                which fees are to be paid by a person other than the Debtor(s) and;

                D.      Representation on matters for which the first hearing is set more than 120 days following
                confirmation.

       3.       I have not shared or agreed to share any of the compensation paid or to be paid. The following sets forth
                all compensation that is being paid by any person or entity other than the Debtor(s).

       4.      As of the filing of this petition, I have received $190.00 in compensation and $2,310.00 will be paid under
       the chapter 13 plan.



       Dated: May 26, 2015                                         /s/_Rachel Thyre Anderson
                                                                   Rachel Thyre Anderson
                                                                   Bar No. 33501
